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UNITED STATES DISTRICT COURT M
FOR THE FILED BY D.C.

WESTERN I)ISTRICT OF TENNESSEE 2805 JUN 23 PH 23 ok

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UNITED sTATES OF AMERICA W n G‘" i“’- **‘F 56

vs.
CR. NO. 03-20389-B

v\_z\_y\_/\_/

CALV|N COBB,

APPL|CAT|ON ORDER and WR|T FOR HABEAS CORPUS AD PROSE UENDUN|

 

Lorraine Craig, Assistant United States Attorney applies to the Court for a Writ to have
Ca|vin Cobb, R&| # 000289827, DOB11I18/1976,SSN XXX-XX-XXXX now being detained at the
Shelby County Jai|, Nlemphis, Ten nessee, to appear before the Honorab|e U.S. District Judge
J. Danie| Breen on June 30, 2005, at 10:00 a.m., for a Report Date and for such other
appearances as this Court may direct.

Respectfu||y submitted this 23rd day of June, 2005.

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Assistant U. S. Attorney(

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Upon consideration of the foregoing App|ication,
DAV|D G. JOLLE¥, U.S. MARSHAL, WESTERN DlsTRlcT oF TENNESSEE, MEMPHls, TN AND A. C.
G|LLESS, SHER|FF.

YOU ARE HEREBY COMN|ANDED to have CALV|N COBB, appear before the HONORABLE U.S.

DlSTR|CT JUDGE J. DAN|EL BREEN on the date and time aforementioned.

ENTERED this giré day of §|M-L, ,2005.

U. S. MAG|STRATE JUDGE

Th' s document entered on the docket Sheet in oomp|ianc@
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Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 2:03-CR-20389 Was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

 

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Honcrable J. Breen
US DISTRICT COURT

